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                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO

In re:
COMMONWEALTH OF PUERTO RICO,                                  Civil No. _____________

                                      Debtor.



    NOTICE OF FILING OF STATEMENT OF OVERSIGHT BOARD IN CONNECTION
                     WITH PROMESA TITLE III PETITION

TO THE HONORABLE COURT:

              COMES NOW the Financial Oversight and Management Board for Puerto Rico

(referred to as “Oversight Board”) through the undersigned counsel, and respectfully states and

requests as follows:

              1.   On June 30, 2016, the Oversight Board was established under PROMESA section

101(b).

              2.   Pursuant to PROMESA section 315, “[t]he Oversight Board in a case under this

title is the representative of the debtor” and “may take any action necessary on behalf of the

debtor to prosecute the case of the debtor, including filing a petition under section 304 of

[PROMESA] . . . or otherwise generally submitting filings in relation to the case with the court.”

              3.   On September 30, 2016, the Oversight Board designated the Commonwealth of

Puerto Rico (the “Commonwealth”) as a covered entity under PROMESA section 101(d).

              4.   On May 3, 2017 the Oversight Board filed a voluntary petition for relief for the

Commonwealth pursuant to PROMESA section 304(a), commencing a case under title III

thereof (the “Title III Case”).

              5.   The Oversight Board respectfully submits a Statement of Oversight Board in

Connection with PROMESA Title III Petition to provide the Court with information regarding the


00458414; 1                                     00458403; 1                                00458402; 1   00457222; 1
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crisis and fiscal emergency surrounding Puerto Rico that led to the filing of the Title III Case

attached hereto as Exhibit A.

                                                     NOTICE

              6.   The Commonwealth has provided notice of this Motion to: (a) the Office of the

United States Trustee for the District of Puerto Rico; (b) the indenture trustees and/or agents, as

applicable, for the Commonwealth’s secured and unsecured bonds; (c) the entities on the list of

creditors holding the 20 largest unsecured claims; (d) the Office of the United States Attorney for

the District of Puerto Rico; (e) counsel to the Puerto Rico Fiscal Agency and Financial Advisory

Authority on behalf of the Governor of Puerto Rico; (f) the Puerto Rico Department of Justice;

(g) the Other Interested Parties;1 and (h) all parties filing a notice of appearance in this Title III

Case. The Commonwealth submits that, in light of the nature of the relief requested, no other or

further notice need be given.

              WHEREFORE the Financial Oversight and Management Board for Puerto Rico

respectfully requests that the Court and the Clerk’s Office take notice of the foregoing.


1
    The “Other Interested Parties” include the following: (i) Ambac Assurance Corporation, (ii) Jones Day as counsel
    to certain ERS bondholders, (iii) Assured Guaranty Ltd., (iv) Bonistas Del Patio, Inc., (v) The Bank of New York
    Mellon, (vi) Financial Guaranty Insurance Company, (vii) Paul Weiss as counsel to the Ad Hoc Group of Puerto
    Rico General Obligation Bondholders, (viii) Goldman Sachs Asset Management, (ix) Aristeia Capital, LLC, (x)
    Decagon Holdings, L.L.C, funds 1–10, (xi) Cyprus Capital Partners, L.P., (xii) Goldentree Asset Management LP,
    (xiii) Merced Capital, L.P., (xiv) Scoggin Management LP, (xv) Old Bellows Partners LP, (xvi) Taconic Master
    fund 1.5 L.P., (xvii) Taconic Opportunity Master Fund L.P., (xviii) Tilden Park Capital Management L.P., (xix)
    Varde Credit Partners Master, L.P., Varde Investment Partners, L.P., Varde Investment Partners (Offshore)
    Master, L.P., and The Varde Skyway Master Fund, L.P., (xx) Whitebox Advisors LLC, (xxi) Canyon Capital
    Advisors LLC and River Canyon Fund Management LLC, (xxii) Puerto Rico AAA Portfolio Bond Fund II, Inc.,
    Puerto Rico AAA Portfolio Bond Fund, Inc., Puerto Rico AAA Portfolio Target Maturity Fund, Inc., Puerto Rico
    Fixed Income Funds I–VI, Inc., Puerto Rico GNMA & U.S. Government Target Maturity Fund, Inc., Puerto Rico
    Investors Tax-Free Funds I-–VI, Inc., Puerto Rico Mortgage-Backed & U.S. Government Securities Fund, Inc.,
    Tax-Free Puerto Rico Fund, Inc., Tax-Free Puerto Rico Fund II, Inc., Tax-Free Puerto Rico Target Maturity Fund,
    Inc., and UBS IRA Select Growth & Income Puerto Rico Fund (xxiii) Syncora Guarantee Inc., (xxiv) National
    Public Finance Guarantee Corporation, (xxv) Franklin Advisers, Inc., (xxvi) the Oppenheimer Funds, (xxvii) First
    Puerto Rico Tax-Exempt Target Maturity Funds II–VII, Inc., First Puerto Rico Target Maturity Income
    Opportunities Funds I–II Inc., First Puerto Rico Tax Advantaged Target Maturity Funds I–II, Inc., First Puerto
    Rico AAA Target Maturity Funds I–II, Inc., First Puerto Rico Tax-Exempt Funds I–II, Inc., and (xxviii) Puerto
    Rico Sales Tax Financing Corporation (COFINA).



00458414; 1                                           00458403; 1                                          00458402; 1   00457222; 1
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Dated: May 3, 2017                           Respectfully submitted,

              San Juan, Puerto Rico          /s/

                                             Martin J. Bienenstock
                                             Scott K. Rutsky
                                             Philip M. Abelson
                                             (Admission Pro Hac Vice pending)
                                             PROSKAUER ROSE LLP
                                             Eleven Times Square
                                             New York, NY 10036
                                             Tel: (212) 969-3000
                                             Fax: (212) 969-2900

                                             Attorneys for the
                                             Financial Oversight and
                                             Management Board as representative for the
                                             Commonwealth of Puerto Rico

                                             /s/

                                             Hermann D. Bauer
                                             USDC No. 215205
                                             O’NEILL & BORGES LLC
                                             250 Muñoz Rivera Ave., Suite 800
                                             San Juan, PR 00918-1813
                                             Tel: (787) 764-8181
                                             Fax: (787) 753-8944

                                             Co-Attorneys for the
                                             Financial Oversight and
                                             Management Board as representative for the
                                             Commonwealth of Puerto Rico




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